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EXHIBIT L
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IDENTIFICATION NO. 209987                     Joshua Bell, Clinton Gardner
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Anthony Barasky,                                                 :          CIVIL ACTION LAW
                                           Plaintiff,            :          JURY TRIAL DEMANDED
                      vs.                                        :
                                                                 :          Judge Matthew W. Brann
Kevin Dent, Tyson Havens, Joshua Bell,                           :          Electronically Filed
Clinton Gardner, Christopher Kriner,                             :
Joseph Hope, Lycoming County, Old                                :
Lycoming Township; and City of                                   :
Williamsport,                                                    :
                                           Defendant             :          Docket #: 4:21 CV 02041
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                                     Defendant, Joshua Bell’s, Response to
                                               INTERROGATORIES
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10. Describe in detail the meeting/briefing that occurred on October 2, 2020 prior to the
traffic stop of Plaintiff wherein the investigation into Plaintiff and any traffic stop and/or
arrest of Plaintiff was discussed. This includes, but is not limited to, a detailed description
of the content of the meeting including any statements, interactions, or communications
between Defendant and/or Kevin Dent, Tyson Havens, Clinton Gardner, Christopher
Kriner, and Joseph Hope. This also includes, but is not limited to, a description of the
location of the meeting, time of the meeting, purpose of the meeting, and any decisions
regarding the Incident that were made during the meeting. Identify any individual
involved in this meeting.

Defendant does not recall the specifics. However, during the briefing the plan of events,
sequence of events, players, etc. were discussed. They specifically discussed the best way
to take Plaintiff into custody given his prior history of fleeing and causing damage so as
to keep the public safe as the meeting point was in a residential neighborhood with one
way in and out. Further, Defendant is not in possession of any information related to this
matter as everything was handled through the Lycoming County Narcotics Enforcement
Unit. Answering Defendant reserves the right to supplement this response if discovery
reveals any relevant information.
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11. Describe in detail the traffic stop of Plaintiff’s vehicle and Plaintiff’s arrest during the
Incident. This includes, but is not limited to, what the plan was to effectuate the traffic
stop and arrest of Plaintiff, how the traffic stop and arrest of Plaintiff was effectuated,
Identify what individuals were involved in the effectuation of the traffic stop and arrest of
Plaintiff, describe what actions all individuals undertook to effectuate the traffic stop and
arrest of Plaintiff, and describe any communications or statements made by Plaintiff or
any other individual during the Incident.

Defendant does not recall the specifics. The plan had been to stop Plaintiff before he got
to the buy location given his history of feeling at a high rate of speed and causing
damage in order to keep the public safe. Detective Dent was in communication with the
CI as well as the involved officers. He informed the officers when the arrangements had
been made. The officers kept a lookout for Plaintiff as they were familiar with him.
Plaintiff was stopped and arrested. It is believed that Plaintiff was transported to the
police department, searched, and transported to the Lycoming County Prison. Further,
Defendant is not in possession of any information related to this matter as everything was
handled through the Lycoming County Narcotics Enforcement Unit. Answering
Defendant reserves the right to supplement this response if discovery reveals any relevant
information.
